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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                    4:08CR3037
                                               )
               v.                              )
                                               )
FRANK N. JUVIEL, JOSE LUIS                     )          ORDER ON REPORT AND
RODRIGUEZ,                                     )       RECOMMENDATION OF UNITED
                                               )    STATES MAGISTRATE JUDGE DAVID L.
                      Defendants.              )         PIESTER OF AUGUST 8, 2008
                                               )


       In accordance with the Report, Recommendation, and Order of Magistrate Judge David
L. Piester of August 8, 2008,
       IT IS ORDERED that the Motion to Suppress, filing 41, is denied.
       Dated August 28, 2008.

                                      BY THE COURT

                                      s/ Warren K. Urbom
                                      United States Senior District Judge
